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October 14, 2021

RE: CharactéReference for Thomas and Lori Vinson

To Whom It May Concern:

i have known Tom and Lori Vinson for over sixteen years. | first became acquainted with
“om as a customer for the supply company where | was employed. We eventually became
coworkers and he is now my supervisor and friend.

Tom possesses strong qualities of leadership, integrity, and honesty. He demonstrates
leadership with his employees and has earned a great amount of respect from them. This is
due to Tom’s willingness to jump in alongside employees and do whatever is needed to
complete a project. Instead of spending time reprimanding employees when they make a
mistake or fail at a task, Tom will work at determining the root cause and a preventative
action so it does not occur again in the future — or as in Tom’s words — “what is the Why?”
He is passionate at performing jobs in the right way without taking shortcuts. Over the
years, we have shared laughter and tears as we have grown from a coworker relationship to
being good friends.

Lori possesses qualities of compassion, leadership, and integrity. The qualities that make up
a great nurse are what Lori has in abundance. Lori has a long career in nursing including a
supervisory position. She is much like Tom, in that she will work beside her fellow
employees and ensure a patient is cared for in the right way. Lori is someone that | can
trust. | have confided in her on my own family medical situations and she has given good
advice while keeping my questions private.

Tom and Lori care greatly for their family and friends. Tom and Lori have displayed their
loving, caring, and nurturing qualities by taking in and raising children who were in neec.
They not only help kids in need, but have also provided shelter and care for rescue and
stray dogs. They are always looking for ways to help and are passionate about it.

Tom and Lori are both good, upstanding, and kind people that anyone would want to have
as friends. | am fortunate to call them my friends.

Sincerely,

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Chuck Condiff, Jr.

DEFENDANT'S
EXHIBIT

 
